UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

                                                      x
H&R BLOCK, INC. and
HRB INNOVATIONS, INC.

               Plaintiffs,

       v.                                                         Case No. 4:21-cv-00913-NKL

BLOCK, INC.,

               Defendant.
                                                      x

        REBUTTAL DECLARATION OF JEFFREY J. JONES II IN FURTHER
     SUPPORT OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


       I, Jeffrey J. Jones II, hereby declare as follows:


       1.      I am the President and Chief Executive Officer of H&R Block, Inc. (together with

its subsidiaries and affiliates, including HRB Innovations, Inc., “Block”). On December 21,

2021, I submitted a declaration in support of Block’s motion for a preliminary injunction against

Block, Inc.


       2.      I have reviewed Block, Inc.’s opposition to Block’s motion for a preliminary

injunction, including the suggestions in opposition to Block’s motion for a preliminary

injunction and a number of the accompanying exhibits.


       3.      I submit this rebuttal declaration in further support of Block’s motion for a

preliminary injunction against Block, Inc., based on my personal knowledge and a review of

company records, and on information from individuals at Block upon whom I regularly rely.




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I.     The BLOCK Marks are Strong

       4.      As discussed in my prior declaration, dated December 21, 2021, for several

decades, Block has used the BLOCK Marks in connection with its products and services. It has

invested billions of dollars to advertise and promote the BLOCK Marks and brand.


       5.      Block has prepared more than 800 million tax returns for individual customers

and has helped millions of small businesses with their complex financial needs. There are more

than 9,000 Block-branded retail locations in the United States alone, and Block-branded products

are available through Block’s website and at retailers nationwide. Block and its franchisees

employ more than 80,000 employees worldwide.


       6.      Block’s promotion and advertisement of its brand has included partnering with

major corporations and organizations, such as American Airlines, the National Basketball

Association (NBA), IBM, and the New York Yankees, as well as celebrities such as Jon Hamm

and Anthony Davis, for national print, online and television campaigns. Block has been featured

in a number of television appearances, including on major news outlets, on national television, in

Super Bowl commercials, on Ellen, on The Late Show with Stephen Colbert, on Family Guy, on

RuPaul’s Drag Race, on Jeopardy, and as part of a recent viral Tik Tok video.


       7.      All of these advertisements include reference to the BLOCK Marks, Block’s

green color scheme and Block’s Square Marks.


       8.      Given these facts, it should come as no surprise that H&R BLOCK is one of the

most well-known brands in the United States for its tax and other financial services. Although

customers, of course, recognize our full name H&R BLOCK, we, along with the media and

regulators, also frequently refer to our company as BLOCK, and, therefore, our customers also



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know us as BLOCK. We refer to our company as BLOCK to promote our customer services

(including in national and local advertising campaigns and as part of our paid search terms to

drive Block’s web-based marketing efforts), on our social media accounts, in our retail offices,

and in connection with our DIY (do-it-yourself) tax products. Consumers and the media also

regularly refer to Block as BLOCK, including in the press, social media commentary, product

reviews and feedback.


       9.       I understand that Block, Inc. has argued that we are not known simply as

BLOCK. As I explained in my first declaration, and I explain again now, that simply is not

accurate.


                A.      Block Regularly and Prominently Refers to Itself as BLOCK

       10.      In addition to all of the ways I discussed in my December 21, 2021 declaration,

further examples of how Block uses BLOCK alone to promote its services to customers and

potential customers are described below.


       11.      Block has invested significant resources in advertisements using BLOCK alone.

For instances, Block invested over $100 million in television and online video advertising alone

to promote the tagline “BLOCK HAS YOUR BACK.” As an example, Block aired a popular

national television commercial (see https://www.youtube.com/watch?v=1KXDPjUM5dU) which

was set in a Block office and featured Block professionals singing and dancing to a catchy jingle,

including the lines: “Tax season is here again…Block has options for you my friend….In person

or virtually, we make it easy for you…BLOCK HAS YOUR BACK.” While the H&R BLOCK

name did appear on screen in the commercial, the voiceover referred only to BLOCK. This




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commercial aired throughout the 2021 tax season, which ran from the end of December 2020

until mid-May 2021.


         12.   The BLOCK HAS YOUR BACK tagline has also been used on storefronts, as

wall art in our field offices, at special events and even as the backdrop of Block employees

ringing the New York Stock Exchange bell to open the 2019 tax season. Examples of these uses

of the tagline are seen below, including a picture of a Block office I took this week while on a

field visit.




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       13.     BLOCK HAS YOUR BACK is not the only tagline featuring BLOCK alone in

which Block invests. For example, Block also has used the tagline “BETTER WITH BLOCK.”

Block spent over $50 million on television and online video advertising promoting this tagline in

2020 alone.


       14.     Use of Block alone in advertising is nothing new. In another national television

commercial, which aired in 2014, Richard Gartland, a Block tax professional, says “This is your

money. Get it back with Block. Get your billion back, America.” (See

https://www.ispot.tv/ad/7fHj/h-and-r-block-get- your-billion-back (emphasis added)). Although

the Block website appears on screen toward the end of the commercial, the voiceover refers only

to BLOCK as it explains the opportunity for customers to get their tax refund money back by

filing their taxes with Block. In 2014, Block invested more than $90 million in the taglines

featured in this commercial.


       15.     Block also promotes the BLOCK name through paid search advertisements that

feature such phrases as: “Switch to Block”; “More than Block”; and “Free with Block.” Block

has spent millions of dollars on these paid search advertisements that include use of “Block”

alone (e.g., advertisements that will appear if an individual types certain paid search terms into a

search engine). As part of this effort, Block also bids on paid search keywords featuring Block

alone, such as “block tax” and “myblock com.”




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       16.    In addition, Block Advisors, which provides tax, bookkeeping and payroll

services in more that 300 Block Advisors offices under the BLOCK ADVISORS registered

trademarks (Reg. Nos. 5,055,458 & 5,179,142), often prominently displays BLOCK alone,

without any reference to H&R. For example, in advertisements for BLOCK ADVISORS,

BLOCK appears prominently without any reference to H&R BLOCK (see

https://www.youtube.com/watch?v=AJcBK1DCrbo and

https://www.youtube.com/watch?v=fcpXPg4MEkM). These advertisements, as well as several

others, also use Block’s Green Square with and without reference to the full name H&R

BLOCK, examples of which can be seen below.




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       17.       Block also uses BLOCK in connection with several other offerings, products and

services, both with and without the “H&R” including:


DIY Software




Social Media




Retail Offices




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Local
advertising
campaigns




Apparel and
Accessories




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               B.     Consumers Refer to Block as BLOCK

       18.     Notwithstanding the renowned and extensively used H&R BLOCK name,

consumers commonly refer to us as BLOCK.


       19.     For example, with respect to Block’s tax preparation and filing products and

services, a review of consumer feedback over the past four tax seasons shows that DIY-channel

clients, including software and online digital clients, referred to Block as BLOCK more than

7,000 times. While these consumers, of course, know that our formal name is H&R BLOCK,

they still often refer to us simply as BLOCK in their communications


       20.     Similarly, users of Block’s tax preparation and filing software (which helps filers

maximize deductions and gives them the resources they need to file federal and state taxes on

their own) often refer to Block as BLOCK alone. Block has offered this software for more than

twenty years, and, in general, approximately two million tax returns are filed each year using the

Block software. Consumers can purchase Block’s tax software on Amazon via Block’s Amazon

storefront, or through Walmart, Staples, Best Buy, Office Depot, Target, CVS, Micro Center,

Meijer, and Newegg, amongst others. Block has also partnered with American Airlines, ADP,

Fidelity and Equifax to promote and sell its software. Purchasers of Block’s software are able to


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review the product on the retail platform where it was purchased. In these reviews, customers

frequently refer to Block as BLOCK alone. Some examples are provided below.




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                             12
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               C.      The Media Refers to Block as BLOCK

       21.     The media has also referred to Block as “Block” for decades. Media outlets such

as the Wall Street Journal, CNN, The New York Times, American Banker, The New York Post,

Accounting Today, The Associated Press, Barron’s, the Los Angeles Times, the Kansas City

Star, The Boston Globe, The Orlando Sentinel, The Economist, and many more, have all referred

to Block as “Block” alone in the headline of a published article. See Durone Decl. ¶¶ 14-19;

Exs. 51-56.


II.    Expansion of Financial Services and Products

       22.     While tax filing and preparation has traditionally been the core of Block’s

business, Block offers a suite of financial services and products that compete directly with Block,

Inc. in other areas, and Block continues to expand those offerings.


       23.     I understand that Block, Inc. has asserted that Block does not offer commercial

solutions, business software, and banking services for sellers. However, Block does offer such

services, all of which are consumer-facing, in the Block family, and cross-sold to Block

customers.


               A.      Wave Financial

       24.     In June 2019, Block acquired Wave Financial LLC (“Wave”), which provides a

money management tool and all-in-one solution for small businesses to manage their business

finances, including payment processing, payroll, bookkeeping and taxes.


       25.     Wave offers free invoicing and free accounting products to small business

owners, and primarily targets microbusinesses, with fewer than 5 employees, and with less than

$50,000 in yearly revenue. Wave revenue is derived primarily from its payments processing


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business, which competes directly with Block, Inc.’s Square. Wave enables small business

owners to issue invoices to customers and accept invoice payments through links in the invoices.

Like Block, Inc.’s Square, Wave collects a fee for every eligible transaction.


       26.     Wave is promoted alongside BLOCK branding, primarily BLOCK ADVISORS.

Wave’s products and services are also actively cross-sold to current and potential Block

Advisors customers, and Wave has a dedicated phone support line, 1-833-HRB-WAVE, which is

used by Wave customers to book in-person appointments with Block Advisors.




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       27.     Wave also recently launched access to Wave Money, a business bank account that

helps small business owners take control of their finances by providing instant access to money

without banking fees. Wave Money automatically categorizes expenses; manages business

income and spend; serves as a business bank account, debit card and mobile application;

provides access to the largest free ATM network in the United States; and provides a fully

integrated financial management solution that syncs with Wave’s payments business and

provides instant access to funds.




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              B.      Spruce

       28.    Block recently launched its new, innovative financial technology platform,

SPRUCE, which combines the best features of leading digital banks with Block’s trusted brand

and insights, gleaned from helping millions of customers every year.


       29.    SPRUCE is a mobile banking platform that offers debit cards, direct deposit, a

cash back rewards program, credit scores, and overdraft protection services. The SPRUCE debit

card is accepted anywhere MasterCard ® is accepted.


       30.    The SPRUCE financial technology platform is promoted as having been “built by

H&R BLOCK,” the mobile application reads “built by H&R BLOCK” and the SPRUCE debit

card is labeled “built by H&R Block.”




III.   Block Uses its Federally Registered Green Square to promote Block

       31.    Block, Inc. has used its federally registered green square mark, both with and

without “H&R,” to promote Block.


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      For example, in recent years, Block has aired several national commercials prominently

featuring Block’s green square mark alone in several frames. Clips of some of these

advertisements are shown below. While references to “H&R BLOCK” were included in each,

the green square mark was used alone prominently for significant portions of these commercials.




Available at:
https://www.ispot.tv/ad/IYcL/h-and-r-block-refund-advance-piece-of-cake




Available at:
https://m.youtube.com/watch?v=TTaeWCRhszI&feature=emb_title




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Available at:
https://www.ispot.tv/ad/ItN5/h-and-r-block-tax-refund-advance


       32.     Indeed, in at least one commercial in 2014, Block even used a green square,

featuring a large, generic, white dollar sign, similar to Block, Inc. Cash App’s own generic logo.

(https://m.youtube.com/watch?v=jIX2H81sGmk)




IV.    Block, Inc. Is a Public-Facing Brand

       33.     I understand that Block, Inc. asserts that “Block” is not a brand for Block, Inc.’s

“customer-facing” businesses, and is only “an official corporate name.” However, Block, Inc. is

certainly using the name “Block” in a public facing way that is likely to cause confusion in the

marketplace with Block.




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                A.     Block, Inc. Uses Block As a Brand

       34.      As explained in my December 21, 2021 declaration, Block, Inc. has taken several

steps to attract public attention. And, as Block, Inc.’s Opposition papers concede, Block, Inc.

invested heavily to do so, spending significant time, money and employee manpower on the

project. These efforts included the development of its websites at http://block.xyz and

http://investors.block.xyz and social media channels, including the “BLOCK” LinkedIn page

with the tagline “joinblock” in the URL and Block, Inc.’s Twitter pages with the handles,

“@blocks,” which notes in the tagline it consists of “Building blocks” including @CashApp, and

“@blockir.” Block, Inc. also uses the BLOCK name in investor- facing materials and job

postings. All of these uses are public-facing with designs obviously meant to establish

recognition and trust not only for Block, Inc., but its underlying “building block” brands, with

consumers, potential consumers, employees, potential employees, investors, potential investors,

the media and more.


       35.      Block, Inc.’s website at https://block.xyz prominently identifies its brands,

including Square and Cash App, as the “building blocks” of the BLOCK brand. The homepage

also includes a music playlist called “BLOCK VIBES” curated by famous artist Jay-Z

(undoubtedly to attract the attention of the public), which links directly to Block, Inc.’s TIDAL

website.




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       36.      Block, Inc. is publicly traded and listed on the New York Stock Exchange. It is

my understanding that any Cash App user or member of the public can invest in Block, Inc. I

have reviewed Block, Inc.’s investor website at http://investors.block.xyz, where Block, Inc.

states that “Block, Inc. is Square, Cash App, Spiral, TIDAL, TBD54566975, and our foundational

teams such as Counsel, Finance, and People that provide guidance at the corporate level. These

are our building blocks, united by our shared purpose of economic empowerment. We’re

creating tools to help expand access to the economy.” The e-mail contact on this page is

ir@block.xyz.




       37.      On Block, Inc.’s investor website, a potential investor can elect to receive e-mail

alerts from Block, Inc. regarding news, annual reports, events and presentations, SEC filings,

quarterly reports or end of day stock quotes. If a person enters his or her e-mail address to sign




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up for alerts, he or she promptly receives an e-mail from “Block” titled “Block Website –

Validate Account” and signed “Block.”




       38.    Block, Inc. also has a careers page on its website (https://block.xyz/careers) titled

“WORK AT BLOCK.” On the Block, Inc. careers page, visitors can filter by “business” and

select “Block,” “Cash App,” “Square,” “Tidal,” or “Verse,” as shown in the below image.




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       39.     On January 21, 2022, there were 770 positions available at Block, Inc. including

multiple positions focused on consumer products, sales and marketing, including Product

Counsel (Banking), Product Marketing Manager (Hardware), Lead Application Engineer, Senior

Software Engineer (Data Products), Factory Product Quality Manager, Product Manager (Square

Retail), Finance Ops Product Manager (Square Financial Services), Senior Product Manager

(eCommerce Buyer Network), Senior CRM Product Manager (Sales), and many more. Open

positions advertised on Block., Inc.’s careers website include specific positions for tax engineers

for its Cash App Taxes business, as shown below.




       40.     I have reviewed a number of

Block, Inc.’s social media accounts, and have

identified numerous examples of Block, Inc.

using the BLOCK mark publicly. For example,

as shown at right, on December 1, 2021, Block,

Inc. tweeted from its @blocks Twitter account

that “Block is @Square, @CashApp,

@spiralbtc, @TIDAL, @TBD54566975, and

our foundational teams who support them.

We’re here to build simple tools to increase

access to the economy.”




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       41.    On December 31, 2021, Block, Inc. tweeted a video from its @blocks Twitter

account that displayed “BLOCK” in various typefaces shifting around along with the text

“WHEN THE BLOCK STRIKES MIDNIGHT.” Screenshots from this video are shown below.




       42.    More than 1,000 Block, Inc.employees describe themselves as employees at

“Block” on LinkedIn rather than employees at Cash App, Square, Tidal, or TBD54566975.

Some examples are shown below.




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       43.     Employees of Block, Inc.’s so-called “consumer-facing brands” promote

themselves as working at “Block,” despite Block, Inc.’s statement that it will not be referred to

as “Cash App by Block.”




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       44.    Despite Block., Inc.’s contentions that its so-called “consumer- facing brands” do

not promote a connection to Block, Block, Inc. employees, including one its declarants, Owen

Jennings (the “obj” post below), refer to both Cash App and Block in social media posts, as

shown in the below examples.




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                             26
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V.     The Media Calls Block, Inc. “Block”

       45.     I understand that several news outlets and media sources have referred to Block,

Inc. as “Block,” when discussing Block, Inc.’s financial performance, acquisitions, new product

offerings and other news and developments, just like the same news outlets and media sources

call Block “Block.” The articles include headlines such as “Block’s Cash App adopts Lightning

Network for free bitcoin payments” (available at: https://techcrunch.com/2022/01/18/blocks-

cash-app-adopts-lightning-network- for- free-bitcoin-payments/); “Afterpay’s $29bn buyout by

Block set to close after Spain nod” (available at: https://www.reuters.com/technology/afterpays-

29-bln-buyout-by-block-set-close-after-spain-nod-2022-01-11/); “Biogen, PayPal, Block, Ally

Financial: What to Watch in the Stock Market Today” (available at:

https://www.wsj.com/articles/kidpik-biogen-block-ally- financial-what-to-watch-when-the-stock-

market-opens-today-11641988019/); “Block stock hits new 52-week low, getting clobbered since

rebrand” (available at: https://news.yahoo.com/block-stock-new-52-week-low-square-rebrand-

212731066.html); “Intel, Block Supporting Mining a Positive for Bitcoin’s Price: Analyst”

(available at: https://www.yahoo.com/now/intel-block-supporting-mining-positive-

190925252.html#:~:text=Large%20tech%20companies%20such%20as,based%20digital%20asse

t%20broker%20GlobalBlock.); “Block Users Can Gift Stock, Bitcoin on Cash App” (available at:

https://www.pymnts.com/cryptocurrency/2021/block-users-can- gift-stock-bitcoin-on-cash-app/);

“Block debut opens the ASX gates for other crypto listings” (available at:

https://www.smh.com.au/business/companies/block-debut-opens-the-asx- gates- for-other-crypto-

listings-20220112-p59nmq.html); “Block Stock Gets a Price Target Cut. But There Are Reasons

to Be Bullish” (available at: https://www.nasdaq.com/articles/block-stock-gets-a-price-target-

cut.-but-there-are-reasons-to-be-bullish.), amongst others.




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       46.     In a search on Google for “Block, Inc.” on January 11, 2022, while Block, Inc.

was the first search result, Block was the fourth search result. In the “Top Stories” associated

with this search, while three articles were about Block, Inc., another article was about Block

hiring a new executive. Additionally, Google provided a link to Block on the right hand side of

the search screen. A true and correct copy of the first page of this search is attached as Exhibit 1.


VI.    Cash App Has Historically Been Branded with Square, Inc., and Block, Inc. Has
       Started Branding Cash App with Block, Inc.

       47.     I understand that Block, Inc. has claimed that, since Cash App’s rebranding from

“Square Cash” to “Cash App,” in 2017, Block, Inc. stopped using “Square” in any of the

branding and marketing materials associated with Cash App, apparently to make the point that

Cash App has always been independent from its overarching corporate entity and contend that it

similarly will not use “Block” in connection with Cash App. Even a quick review of Cash App’s

history, however, including Cash App’s mobile application, Facebook page, sponsored

advertisements and e-mail communications, shows these contentions are simply not true—Cash

App has in the past prominently displayed it is connection to “Square” (the former corporate

entity). Given all of the examples of Cash App branded with Square, I expect “Square” to be

replaced by “Block” as Block, Inc. continues its integration, and this will be another means by

which Block, Inc. promotes itself to the public as Block.


       48.     Indeed, Block Inc. is still promoting “Square Inc.” as the parent entity of Cash

App, as of today. For example, Block, Inc. points out on several occasions that users must

download Cash App from a mobile phone application store. But a quick search of the Apple

store shows prominent use of “Square, Inc.” in connection with Cash App: “Square, Inc.”

appears immediately on the top of the page under the name “Cash App”; “Square, Inc.” is listed



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as Cash App’s developer; “Square, Inc.” is noted in the copyright notice; and a link to a licensing

agreement between the mobile application user and Square, Inc. is also present. The same is true

in Android’s Google Play store. It seems logical that as Square, Inc. is phased out as the

corporate entity, these uses would be replaced with Block, Inc.




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                             30
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49.    Cash App’s sponsored advertisements, such as the one

to the right (and highlighted below), which is a screenshot from

a video advertisement—text appears throughout the full video,

which was launched in October 2021 and is currently running—

indicates that “Brokerage services [are] provided by Cash App

Investing LLC, member of FINRA/SIPC and a subsidiary of

Square, Inc.”




       50.        When a Cash App user sends

or receives money, the transfer e-mail

notification that follows the transfer comes

from “cash@square.com” and includes

“Square, Inc.” at the bottom of the e-mail, as

shown at right.




                                     31
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       51.     Cash App’s Facebook page is www.facebook.com/SquareCash and is labeled

“@SquareCash.” According to a line that appears at the bottom of the page, Cash App’s

Facebook page, “SQUARE, INC is responsible for [the] page.”




       52.     Additionally, advertisements posted in late 2021 on Cash App’s YouTube

channel, Instagram account, and Twitter page, featuring artist, Megan Thee Stallion, include text

that reads: “Bitcoin trading offered by Square, Inc. Cash App Investing does not trade bitcoin

and Square is not a member of FINRA or SIPC. Square, Inc. is licensed by the New York

Department of Financial Services.” (See https://www.youtube.com/watch?v=5AN5veSPfY4 ;

https://www.youtube.com/watch?v=NGr_MMZ8_hQ). These videos have been promoted on

Cash App social media channels, and shared by Megan Thee Stallion, who has over 7 million

followers on Twitter.




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       53.     In November of 2021, Cash App ran a “Fortune Four Days” sweepstakes where

Cash App gave away prizes on its social media accounts. The sweepstakes was “sponsored by

Square, Inc.” and the official rules for the sweepstakes, which were linked in each “Fortune Four

Days” post for all of Cash App’s 2+ million followers to see, included several references to

Square. The “Fortune Four Days” sweepstakes official rules can be found at:

https://cash.app/legal/us/en-us/fortunedayfour.


       54.     I understand that Block, Inc.’s expert has identified a Block, Inc. campaign

whereby Cash App collaborated with Justin Bieber and Chance the Rapper for the

#JBChanceHoly giveaway in September 2020. This sweepstakes was publicly “sponsored by

Square, Inc.” The #JBChanceHoly sweepstakes giveaway rules can be found at:

https://cash.app/legal/us/en-us/holygiveaway. Similarly, Cash App’s “Aaron Rodgers Bitcoin

Giveaway,” was “sponsored by Square, Inc.,” and indicated that “Square, Inc. was licensed to

engage in virtual currency business activity by the New York State Department of Financial

Services,” the prize was “subject to the Square ‘Conversion Rate,’” and the sweepstakes was

subject to the Square privacy policy. The official rules for the “Aaron Rodgers Bitcoin

Giveaway” can be found at: https://cash.app/legal/US/en-us/aaronrodgersbitcoin.




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        55.     Given all of the examples of Cash App branded with Square, I expect “Square” to

be replaced in the near term with “Block.” When this occurs, those images will look similar to

the mock up below, where we replaced “Square, Inc.” (as it appears today in the Apple App

Store) with “Block, Inc.”:




        56.     While I appreciate that much of Block, Inc.’s integration has not happened, which

is why many of these examples still say “Square, Inc.” this is demonstrative of the fact that it will

not be difficult for Block, Inc. to revert back to “Square, Inc.” since many of its public materials

still say “Square.”


VII.    Cash App Taxes, Although New to the Market, Is Already Identified as Part of
        “Block”

        57.     I understand that Block, Inc. has asserted that Cash App Taxes will not be offered

under “Block” branding. However, plenty of sources, such as the Cash App Taxes employee

social media accounts, Cash App Taxes terms of service, privacy notice and related disclosure

forms, and media reports on Cash App Taxes, already show that Cash App Taxes is already

identified as part of “Block,” despite launching just mere weeks ago.



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       58.    Multiple news outlets and individuals have posted on social media about “Block”

and Cash App Taxes, with several even writing “$HRB,” a reference to Block’s stock ticker.




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       59.    As shown above, on December 2, 2021, Julie P. Magee, Block, Inc.’s Tax and

Regulatory Affairs Lead tweeted “We’re now known as Block and Cash App Taxes but the same

awesome business trajectory continues! @blocks @cashapp.” Ms. Magee’s LinkedIn page, at

https://www.linkedin.com/in/julie-prendergast- magee-18b11191 (shown below), indicates that

she is the Tax Regulatory Affairs Lead at Cash App Taxes, formerly Credit Karma Tax Inc.

Cash App Taxes is owned by Block, formerly Square.” (emphasis added)




       60.    The Cash App Taxes Terms of Service, disclosure form, and Privacy Notice all

use and refer to “BLOCK.”




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     The Cash App Taxes Terms of Service, which include green hyperlinks, describe

      Cash App Taxes as “a service provided by Cash App Taxes, Inc., a Block, Inc.

      (formerly known as “Square, Inc.”) (“Block”) company!” The Terms of Service

      also reference “Block’s Copyright and IP Policy,” and indicate that Block, Inc.

      “may disclose information necessary to satisfy [its] legal obligatio ns, protect

      Block, Cash App, Cash App Taxes or its customers, or operate our Services

      properly.” The Cash App Taxes Terms of Service are available at:

      https://taxes.cash.app/pages/terms-of-service.


     The Cash App Taxes “Consent to Disclosure of Tax Return Information” form,

      which all Cash App Taxes users must acknowledge and confirm they read before

      they are able to file their taxes, states that Cash App Taxes users “can choose to

      have [Cash App Taxes] disclose to [its] parent company, Block, Inc.

      (formerly known as “Square, Inc.”) (Block) and its Cash App service

      information about you...Block’s Cash App service may use this information to

      provide you tax refund deposit options, provide you with offers,

      recommendations, and notifications that may be of interest to you, perform

      analytics including for fraud prevention and security, aggregate this information

      into products, and provide customer support and personalized services. Block’s

      use and sharing of your information will be governed by Block’s privacy notice

      for Cash App. Block will not sell or share your tax information to unaffiliated

      third parties for their advertising or marketing purposes.” (emphasis added) A

      true and correct copy of Cash App Taxes Consent to Disclosure of Tax Return

      Information is attached as Exhibit 2.



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                 The annotations in the Cash App Taxes Privacy Notice, provided by Block, Inc.,

                  indicates that Cash App Taxes shares customer information “within our family of

                  companies (like Block), who may offer services that we think could be useful to

                  you.” “Block” is not defined in the Privacy Notice. The policy also indicates that

                  Cash App Taxes will share information with its affiliated companies, such as

                  Block, Inc., to help provide services and manage users’ accounts. The Cash App

                  Taxes Privacy Notice, with Block, Inc.’s annotations, is available at:

                  https://taxes.cash.app/pages/privacy-policy.


VIII. Irreparable Harm

        61.       As all of this evidence demonstrates, Block, Inc. cannot control how consumers

and third parties, including the media, refer to “Block, Inc.” Regardless of Block, Inc.’s

intentions or actions, as long as its name is Block, Inc., it is inevitable that there will continue to

be references to “Block” in connection with Block, Inc.’s tax business, prepaid debit card and

other financial services. Such uses of “Block,” which are not intended to refer to Block, create

confusion in the marketplace and irreparably harm Block, who has worked hard to control its

reputation and image in the marketplace for over six decades. References to our stock ticker

symbol, $HRB, in the posts shown in paragraph 58 above about Block’s Cash App tax services

are but one example of how such confusion is inevitable.


        62.       Given that we provide tax preparation and financial services to our clients, our

reputation is critically important. Our customers count on their tax refunds, and they use our

services to achieve their financial goals and help operate their small businesses. We gain clients




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because they trust us. If something causes our customers to lose trust in us, our business would

no doubt be irreparably harmed.


       63.     Block, Inc.’s Cash App Taxes – which has not fully launched yet because

electronic tax filing does not open until next week – has already received many negative reviews,

with users calling Cash App Taxes “unusable,” “a miserable experience,” a “[b]ait and snitch,”

and “shady,” as shown below. As Cash App Taxes continues to be associated with “Block,”

there will be confusion in the marketplace and Block’s reputation will be impacted.




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       64.     If consumers think these reviews are attributable to Block, which I believe will

happen given the similarities in the names and uses, Block will be irreparably harmed. And

these reviews are just one way the reputation Block has invested so much in could be harmed by

another tax and similar financial service being associated with the name BLOCK. No amount of

money will be able to compensate us for the loss of reputation and trust from our clients.




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       65.     We therefore seek an injunction to prevent irreparable harm. Getting that

injunction now, before the tax season really gets underway, is the only way we can nip this

irreparable harm in the bud, before it is allowed to spread like wildfire.


       I declare under penalty of perjury that the foregoing is true and correct.

Executed in Kansas City, Missouri on this 21st day of January, 2022.



                                               ________________________________
                                               Jeffrey J. Jones II




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